833 F.2d 301
    TIPPERARY REFINING COMPANY, Plaintiff-Appellant,v.The UNITED STATES, Defendant-Appellee.DEMENNO/KERDOON, Plaintiff-Appellant,v.The UNITED STATES, Defendant-Appellee.
    Nos. 87-1233, 87-1234.
    United States Court of Appeals,Federal Circuit.
    Nov. 17, 1987.
    
      Appealed from U.S. Claims Court;  Judge Harkins.
      Daniel Joseph, Akin, Gump, Strauss, Hauer &amp; Feld, Washington, D.C., argued for plaintiff-appellant, Tipperary;  David A. Donohoe, P.C., Jerry E. Rothrock, Harry R. Silver and John M. Cook of Akin, Gump, Strauss, Hauer &amp; Feld, Washington, D.C., were on brief.
      Richard H. Streeter, Barnes &amp; Thornburg, Washington, D.C., argued for plaintiff-appellant, Domenno/Kerdoon.
      Dina R. Lassow, Dept. of Justice, Washington, D.C., argued for defendant-appellee;  with her on the brief were Richard K. Willard, Asst. Atty. Gen., Dennis G. Linder and Stephen E. Hart.
      Before DAVIS, Circuit Judge, SKELTON, Senior Circuit Judge, and NEWMAN, Circuit Judge.
      PER CURIAM.
    
    
      1
      Appellants are two small business oil refiners each of which entered into contracts with the Department of the Interior to purchase Government royalty oil.  Such sales and purchases of Government royalty oil were subject to federal regulations from 1973 to January 28, 1981.  Both companies filed suit in the Claims Court under the Tucker Act (28 U.S.C. Sec. 1491(a)(1)) to recover for allegedly excessive prices collected by the Government contrary to that federal regulatory scheme.  The Government moved to dismiss on the ground that there was no jurisdiction in the Claims Court to consider such claims.  Judge Harkins of the Claims Court held that there was no such jurisdiction, and therefore dismissed the complaints.    Tipperary Refining Co. v. United States, 11 Cl.Ct. 572 (1987).  We agree with his views and affirm on the basis of that opinion.
    
    
      2
      AFFIRMED.
    
    